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                                    UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF CALIFORNIA



 UNITED STATES OF AMERICA,                                      No. 2:17-cr-00126-MCE

                    Plaintiff,

        v.                                                                  DETENTION ORDER
                                                                        (Violation of Pretrial Release,
 SAMANTHA SAMPSON,                                                    Probation or Supervised Release)

                    Defendant.


     After a hearing pursuant to 18 U.S.C. § 3148 (violation of pretrial release order), the court finds :
             there is probable cause to believe the person has committed a federal, state or local crime while
             on
             release and defendant has not rebutted the presumption that his/her release will endanger
             another or
             the community or
             there is clear and convincing evidence that the defendant has violated another condition of
             release
             and
             based on the factors set forth in 18 U.S.C. § 3142(g) there is no condition or combination of
             conditions of release that will assure that the defendant will not flee or pose a danger to the safety
             of another person or the community or
             the person is unlikely to abide by any condition or combination of conditions of release. F.R.Cr.P.
             32.1(a)(D), 46(c), 18 U.S.C. § 3148.

 x   After a hearing pursuant to F.R.Cr.P. 32.1(a)(6) and 46(c) and 18 U.S.C. § 3143 (violation of probation or
     supervised release) the court finds there is probable cause to believe defendant has violated a condition
     of
     probation or supervised release and the defendant has not met his/her burden of establishing by clear
     and
     convincing evidence that he/she will not flee or pose a danger to another person or to the community.
     18 U.S.C. § 3143.

   IT IS ORDERED that pursuant to 18 U.S.C. § 3142(i)(2)-(4) defendant is committed to the custody of the
Attorney General for confinement in a corrections facility separate, to the extent practicable, from persons
awaiting or serving sentences or being held in custody pending appeal. The defendant shall be afforded
reasonable opportunity for private consultation with his/her counsel. Upon further order of a court of the United
States or request of an attorney for the United States the person in charge of the corrections facility in which
the defendant is confined shall deliver the defendant to a United States Marshal for purpose of an appearance
in connection with a court proceeding.


     DATE: _9/15/2020_______________________                  /s/ Carolyn K. Delaney
                                                                Magistrate Judge Carolyn K. Delaney
